Case 20-00674-JMM         Doc 308     Filed 02/16/22 Entered 02/16/22 14:25:46         Desc Main
                                     Document     Page 1 of 4



 Matthew T. Christensen, ISB: 7213
 Chad R. Moody, ISB: 9946
 JOHNSON MAY
 199 N. Capitol Blvd., Ste 200
 Boise, ID 83702
 Phone: (208) 384-8588
 Fax: (208) 629-2157
 Email: mtc@johnsonmaylaw.com
         crm@johnsonmaylaw.com

 Attorney for Debtor-in-Possession

                           UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

 In re:                                            Case No. 20-00674-JMM

 BESTVIEW CONSTRUCTION &                           Chapter 11
 DEVELOPMENT, LLC                                  (Subchapter V)

                         Debtor.

             AMENDED OBJECTION TO CLAIM - NALIN ENTERPRISES, LLC
                                     (AND ABC SUPPLY CO.)

 To:      Nalin Enterprises, LLC
          c/o D. Blair Clark
          967 E. Parkcenter Blvd., #282
          Boise, ID 83706

                                          BACKGROUND

          On July 22, 2020, Bestview Construction & Development, LLC (hereinafter “Bestview”

 or “Debtor”), filed a petition in this Court under Chapter 11, Subchapter V, of the Bankruptcy

 Code on the 22nd day of July 2020 (Docket 1, hereinafter “Petition”). On November 5, 2020, Nalin

 Enterprises, LLC (herein after “Nalin and/or ABC Supply”), filed its proof of claim (Claim No.

 14-1, hereinafter “Claim”), alleging that $197,009.10 was secured by a lien on real property from

 that certain Mechanic’s Lien recorded by the Canyon County Recorder on August 28, 2020, as



 AMENDED OBJECTION TO CLAIM – NALIN ENTERPRISES, LLC (AND ABC SUPPLY CO) –
 Page 1
Case 20-00674-JMM          Doc 308    Filed 02/16/22 Entered 02/16/22 14:25:46            Desc Main
                                     Document     Page 2 of 4



 Instrument No. 2020-049226. Debtor filed its Objection to Claim and Notice – Nalin Enterprises,

 LLC (and ABC Supply Co.), on March 17, 2021 (Docket 197, hereinafter “Objection”). Following

 the hearing held on January 26, 2021, relating to the Objection, this Court issued a Summary Order

 Requiring Supplemental Briefing (Docket 305). Based on the discussions at the hearing the Court’

 subsequent order, Debtor submits this amended objection.

                                     AMENDED OBJECTION

         The Debtor’s amended objection is made on the following grounds:

         1.      The Proof of Claim is untimely. It was filed on November 5, 2020. The deadline

 in this case for filing non-governmental proofs of claim was September 30, 2020.

         2.      To the extent the Claim purports to be a secured claim based on mechanics’ liens

 filed by Nalin Enterprises and/or ABC Supply Co., the mechanics’ liens fail to include a proper or

 valid legal description of the property to be secured.

         3.      Nalin and/or ABC Supply provided certain materials for the Bestview Quads

 project. However, after delivering materials, ABC Supply later returned and took back many of

 the materials that had been delivered. ABC Supply has failed to account for these repossessed

 materials in their Claim for compensation. Further, the materials that were left on the project and,

 in fact, used on the project (consisting mostly of siding and windows) were previously paid by the

 Debtor to Nalin Enterprises. Nalin and/or ABC Supply provided lien waivers for those materials

 that were, in fact, paid for.

         4.      Further, the Debtor disputes labor performed by Nalin and/or ABC Supply Co. was

 professionally or competently performed and/or materials furnished were correct or of correct

 quality. Work was performed incorrectly, was incomplete, and/or was not completed in time and

 causes delays to the rest of the work being performed by other parties.



 AMENDED OBJECTION TO CLAIM – NALIN ENTERPRISES, LLC (AND ABC SUPPLY CO) –
 Page 2
Case 20-00674-JMM        Doc 308     Filed 02/16/22 Entered 02/16/22 14:25:46               Desc Main
                                    Document     Page 3 of 4



        5.      During the time in which services were provided to Bestview, from Nalin and/or

 ABC Supply Co, Nalin did not carry a valid Contractor’s License, pursuant to I.C. § 54-5204.

 Without a valid Contractor’s License, the Contractor does not have the right to pursue payment or

 record a claim of lien against the real property; therefore, making the basis of Claim No. 14 null

 and void (see Docket 302, pg. 2-4).

        6.      Nalin failed to continue to perfect its interest in the real property as required by 11

 U.S.C. § 546(b).

        Based on the foregoing objections, the Claim asserted by Nalin Enterprises in its Proof of

 Claim No. 14 (and, to the extent disguised as a claim by Nalin Enterprises, the claim of ABC

 Supply) should be disallowed.

        DATED this 16th day of February, 2022.

                                                          /s/ Chad R. Moody
                                                   CHAD R. MOODY
                                                   Attorney for Debtor-in-Possession




 AMENDED OBJECTION TO CLAIM – NALIN ENTERPRISES, LLC (AND ABC SUPPLY CO) –
 Page 3
Case 20-00674-JMM       Doc 308    Filed 02/16/22 Entered 02/16/22 14:25:46           Desc Main
                                  Document     Page 4 of 4



                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 16th day of February, 2022, I filed the
 foregoing AMENDED OBJECTION TO CLAIM – NALIN & ABC SUPPLY electronically
 through the CM/ECF system, which caused the following parties to be served by electronic means,
 as more fully reflected on the Notice of Electronic Filing:

        Heidi Buck Morrison                         heidi@racineolson.com
        Brett R Cahoon                              ustp.region18bs.ecf@usdoj.gov
        Alexandra O Caval                           alex@cavallawoffice.com
        Matthew Todd Christensen                    mtc@johnsonmaylaw.com
        D Blair Clark                               dbc@dbclarklaw.com
        Kevin E Dinius                              kdinius@diniuslaw.com
        Timothy D Ducar                             ordres@azlawyers.com
        Thomas E Dvorak                             ted@givenspursley.com
        Patrick John Geile                          pgeile@foleyfreeman.com
        Daniel C Green                              dan@racinelaw.net
        Matthew W Grimshaw                          matt@grimshawlawgroup.com
        Jonathan W Harris                           jharris@bakerharrislaw.com
        Trevor L Hart                               tlh@perrylawpc.com
        Andrew Seth Jorgensen                       andrew.jorgensen@usdoj.gov
        Jay J Kiiha                                 jkiiha@whitepeterson.com
        Jed W. Manwaring                            jmanwaring@evanskeane.com
        Chad Moody                                  chad@johnsonmaylaw.com
        Jason Ronald Naess                          jason.r.naess@usdoj.gov
        Mark B. Perry                               mbp@perrylawpc.com
        Randall A. Peterman                         rap@givenspursley.com
        P. Rick Tuha                                rick@idaholawgroup.com
        U.S. Trustee                                ustp.region18.bs.ecf@usdoj.gov
        Brent Russel Wilson                         bwilson@hawleytroxell.com

        Any others as listed on the Court’s ECF Notice.

      I FURTHER CERTIFY that on such date I served the foregoing on the following non-
 CM/ECF Registered Participants via U.S. Mail, postage prepaid:

         Nalin Enterprises, LLC                  American Builders and Contractors
         PO Box 191203                           Supply Co. Inc.
         Boise, ID 83719                         dba ABC Supply Co., Inc.
                                                 One ABC Parkway
                                                 Beloit, Wisconsin 53511


                                                     /s/ Chad R. Moody
                                               Chad R. Moody



 AMENDED OBJECTION TO CLAIM – NALIN ENTERPRISES, LLC (AND ABC SUPPLY CO) –
 Page 4
